Case 2:03-cV-02771-.]DB-tmp Document 25 Filed 06/20/05 Page 1 of 2 Page|D 39

   

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JERLDEAN DANIEL, et al., .IUDGMENT IN A CIVIL CASE

 

Plaintiff,
v.

MEMPHIS CITY BOARD OF EDUCATION, CASE NO: 03-2771-B

Defendant.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered.

IT IS SO ORDERED AN]) AD.IUDGED that in accordance with the Order entered on June 9,
2005, this cause is hereby dismissed with prejudice

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Honorable .1. Breen
US DISTRICT COURT

